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                                  STATEMENT OF FACTS

       Beginning in or about October 2019 and continuing through April 2021, defendant Gary

E. Leach (“Leach”) targeted Jane Doe A, a 24-year-old resident of eastern Massachusetts, with a

cyberstalking and extortion campaign by which he caused her substantial emotional distress and

threatened injury to her reputation. Leach used anonymous Instagram accounts to harass and

intimidate Jane Doe A and threatened Jane Doe A in order to extort content of a sexually explicit

and degrading nature from her. Throughout this period, Leach kept Jane Doe A in a state of fear

that Leach would send to her family videos of Jane Doe A performing sexual and degrading acts.

       In October 2019, Leach, using an Instagram alias, agreed to pay Jane Doe A for interactions

of a sexual nature. During several video calls over Instagram, Leach instructed Jane Doe A to

undress and to perform various sexual actions. He secretly recorded one or more of these video

calls without Jane Doe A’s consent or knowledge. Leach did not pay Jane Doe A as he had

promised and stopped communicating with her.

       In approximately December 2019, Leach used another Instagram alias to contact Jane Doe

A. Leach sent Jane Doe A a video recording from their October 2019 interactions and threatened

that he would send the video to Jane Doe A’s parents if she refused to engage in more video calls

of a sexual nature with him. Jane Doe A complied with Leach’s demands.

       In February 2020, Leach used two more Instagram aliases to contact Jane Doe A. When

Jane Doe A initially did not respond to Leach, Leach messaged Jane Doe A on February 26: “So

I guess I’ll go ahead and post those.” From another alias, Leach asked Jane Doe A, “Do you like

the vids?” and told her, “Was thinking other people might enjoy them.”

       In March 2020, Leach contacted Jane Doe A from another Instagram alias, demanding that

Jane Doe A respond, and told her, “I have an ok idea of who should see it first but I would want
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you to choose between these three.” From another alias, Leach later identified “these three” as

“mom dad and sis.” In these interactions, Leach demanded that Jane Doe A return home from

work to video chat with him. Leach told Jane Doe A that he would stop contacting her if she video

chatted with him every day during the next week. Jane Doe A complied with Leach’s demands

and performed sexual and degrading actions for Leach over several Instagram video calls.

       In April 2020, Leach again contacted Jane Doe A from a different Instagram alias and

demanded that Jane Doe A video chat with him. Jane Doe A engaged in a video call with Leach

of a sexual and degrading nature similar to their prior video calls.

       In or about September or October 2020, Leach contacted Jane Doe A again under another

Instagram alias and demanded a video call. Leach revealed to Jane Doe A that he still had files

depicting her.

       Throughout these interactions, Leach told Jane Doe A that he would delete recordings and

photographs of Jane Doe A upon the completion of their video calls. Despite these promises,

Leach kept electronic copies of this content, created or obtained additional content depicting Jane

Doe A, and used this content to extort Jane Doe A for more interactions.

       Jane Doe A made clear to Leach that she was not a willing participant. In February 2020,

for example, she asked Leach, “But why do you want me to be like this? Feeling threatened and

in shock?” In March 2020, she told Leach: “I just wanna know why you want to make me so

miserable and to keep chasing me like this.” Leach replied, “Honestly, it’s fun and you’re hot.”

       Leach explicitly extorted Jane Doe A during these interactions. For instance, in March

2020, Leach told Jane Doe A, “[I]f you do what I say, no one will ever see or know about these

vids.” Jane Doe A asked, “Why you wanted to leak them?” and Leach replied, “To get you to do

what you are told, like you are.”



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       Leach also cyberstalked other female social media users, including Jane Doe B, an

Instagram user residing in Canada.

       Leach told Jane Doe A about his possession of images and recordings of other female

Instagram users. For instance, in a February 2020 exchange, Leach stated: “Sweetheart I have

hundreds of vids and thousands of pictures meticulously categorized by name.”

       In or before March 2020, Leach solicited Jane Doe B for sexual content via Instagram and

recorded Jane Doe B during a video call of a sexual nature over SnapChat. Leach later sent the

recording to Jane Doe B’s roommate. Leach repeatedly attempted to contact Jane Doe B from

different social media accounts. In March 2020, Leach used an Instagram alias to send one of the

videos of Jane Doe B to her, stating: “I’ve got like 40 minutes of this. Think your friends might

want to enjoy these too? If I don’t hear back I’ll assume you think so.” As a result of Leach’s

harassment, Jane Doe B began using another Instagram account.

       Throughout 2019 and 2020, Leach attempted to solicit video performances of a sexual

nature from at least a dozen Instagram users, offering to be their “sugar daddy.” Most of these

Instagram users chose not to video chat with Leach because he refused to pay them up front. On

several occasions, Leach solicited video chats from Instagram users and then refused to pay them

despite their repeated requests that he send the CashApp payment that he had promised. Leach

also initiated interactions with at least 20 other Instagram users in which Leach contacted the

Instagram users, pretending to know them, and initiated video calls with them for the purpose of

exposing himself masturbating. When a number of these Instagram users did not answer video

calls from Leach, Leach sent them unsolicited photographs and/or videos of himself masturbating.




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